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 8
                          UNITED STATES DISTRICT COURT
 9                             DISTRICT OF NEVADA

10
     United States of America,
11                                                 2:22-cr-22-GNM
                     Plaintiff,
12                                                 Joint Status Report
                     v.
13
     Scott F. Carpenter,
14
                     Defendant.
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17   CERTIFICATION: This Report is timely filed.

18          Defendant Scott F. Carpenter and the United States Attorney’s Office for the

19   District of Nevada have executed a plea agreement pursuant to which the defendant

20   will plead guilty to a misdemeanor and the parties will jointly recommend that the

21   Court impose a sentence of probation. There have been no prior proceedings in this

22   matter.

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 1          Pursuant to the February 1, 2022, Minute Order in Chambers, the Parties

 2   respectfully submit this Joint Statue Report:

 3          1.     Defendant Carpenter resides in New Jersey and would prefer to

 4   appear at the plea hearing scheduled for February 16, 2022 (or at a later date if

 5   rescheduled by the Court) via video conferencing in order to avoid air travel to

 6   Nevada during the pandemic.

 7          2.     Defendant Carpenter consents to proceed with the plea hearing using

 8   video conferencing.

 9          3.     The parties have reached an agreement and continuing the plea

10   hearing will unnecessarily delay the resolution of this case.

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12   DATED this 7th day of February 2022.

13
      CHRISTOPHER CHIOU
14    Acting United States Attorney

15    /s/ Daniel R. Schiess                           /s/ Paul J. Fishman
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